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                     9                                      UNITED STATES BANKRUPTCY COURT
                 10                                                        DISTRICT OF NEVADA
                 11                                                              —ooOoo—
                 12      In Re:                                                          Case No. BK-N-14-50333-BTB
                 13      ANTHONY THOMAS and                                              Chapter 11
                         WENDI THOMAS,
                 14                                                                      OPPOSITION TO MOTION FOR
                                             Debtors,                                    RELIEF FROM STAY
                 15
                                                                                         Hearing Date: April 22, 2014
                 16                                                                      Hearing Time: 10:00 A.M.
                 17      __________________________________/
                 18                Debtors, ANTHONY THOMAS and WENDI THOMAS (the “Debtors”), by and through
                 19      their counsel Holly E. Estes, Esq., of the Law Offices of Alan R. Smith, hereby file their opposition
                 20      to the Motion for Relief From Stay [DE 23] (the “Motion”). This opposition is based upon the
                 21      following points and authorities, the pleadings, papers and other records contained in this Court’s
                 22      file, judicial notice of which is respectfully requested, and any evidence or oral argument presented
                 23      at the time of the hearing on this Motion.
                 24      ///
                 25      ///
                 26      ///
                 27      ///
                 28      ///
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                     1                                            POINTS AND AUTHORITIES
                     2             1.        Introduction
                     3             The Debtors’ filed their petition for relief under Chapter 11 on March 3, 2014, little
                     4   more than a month ago. An official committee of unsecured creditors has not yet been
                     5   appointed in this case, and the Debtors currently operate as debtors-in-possession.
                     6             Prior to the commencement of this case, the Debtors intervened in a civil action filed
                     7   in the Superior Court of California, County of Los Angeles (Central District), Case No. BS-
                     8   118649, entitled Kenneth Conetto, By Eric Kitchen, His Attorney in Fact, Petitioner, vs. Kit
                     9   Morrison and Todd Armstrong, Respondents; Anthony George (“Tony”) Thomas and Wendi
                 10      Thomas, Intervenors, vs. Kenneth Conetto, individually, and by Eric Kitchen, his Attorney
                 11      in Fact, Eric Kitchen, W. Wayne Catlett, Gemworks Mining, Inc., Gemworks Asset
                 12      Management, ark Downie, Kit Morrison, Todd Armstrong, Jerry Ferrara, FM Holdings, Inc.,
                 13      market Link, Inc., David Fisher, Dave Portor, the County of Los Angeles, and Does I-50,
                 14      Defendants (the “State Court Action”). There, the Debtors asserted claims for recovery and
                 15      possession of personal property, misrepresentation and concealment, breach of fiduciary,
                 16      Conversion, For Trespass to Chattel, Civil Rico, and Declaratory Relief. These claims
                 17      constitute property of the estate pursuant to 11 U.S.C. § 541. These claims are predicated
                 18      on the misappropriation of an extremely valuable “Bahia Emerald”, appraised at $925
                 19      million.
                 20                On February 19, 2014, after the filing of the Debtors’ petition, the court in the State
                 21      Court Action entered an interlocutory judgment against the Debtors and dismissed the
                 22      Debtors’ First Cause of Action (for recovery and possession of personal property) with
                 23      prejudice. As to the remainder of the claims, Movants have filed a motion for judgment on
                 24      the pleadings, and a hearing is currently scheduled for May 29, 2013. The Debtors have not
                 25      yet filed a responsive brief.
                 26                The Debtors wish to pursue the remainder of their claims, as they believe such claims
                 27      are valuable to their estate; however, they need a breathing spell in which to reevaluate their
                 28      case and employ new counsel. This past week, Debtors’ counsel in the State Court Action
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                     1   was allowed to withdraw from the case. Debtors are therefore currently without counsel and
                     2   are without the legal sophistication to respond to the pending motion and proceed with the
                     3   remainder of their case. In order to prosecute the Debtors’ claims, the Debtors need a period
                     4   of time in which to locate and employ new special counsel to represent them in the State
                     5   Court Action.
                     6             2.        The Debtors Should Be Allowed A Short Continuance Of The Stay
                     7             It is well established that actions against the Debtors are stayed by the automatic stay
                     8   of 11 U.S.C. § 362(a). See In re Merrick, 175 B.R. 133 (9th Cir. BAP 1994). To the extent
                     9   the actions of Movants are to gain control over the Debtors’ property, those actions are
                 10      stayed. Here, the Movants are seeking to dispose of the remainder of Debtors’ claims, which
                 11      is, in essence, an act to control the Debtors’ property.
                 12                Movants, in their Motion, list twelve factors a bankruptcy court should weigh in
                 13      determining whether the stay should be lifted to allow pending litigation to continue. In re
                 14      Curtis, 40 B.R. 795, 799 (Bankr. D. Utah 1984); In re Sonnax Indus., Inc., 907 F.2d 1280.
                 15      1285 (2d Cir. 1990). Debtors agree that the third, fourth, fifth, eighth and ninth factors are
                 16      inapplicable to the present case.
                 17                As to the first factor (whether the relief will result in a partial or complete resolution
                 18      of the issues), extending the stay for a short period of time will still ultimately result in a
                 19      complete resolution of the State Court Action, as the continuance of the stay is only
                 20      temporary. Therefore, this factor weighs in favor of the Debtors.
                 21                The second factor (the lack of any connection with or interference with the
                 22      bankruptcy case), also weighs in favor of the Debtors because if the stay is not temporarily
                 23      continued, the Debtors will be forced to proceed with the litigation without counsel, which
                 24      could result in a loss of the claims. This will certainly negatively impact the Debtors’ estate
                 25      and impact the Debtors’ reorganization.
                 26                The sixth factor (whether the action essentially involves third parties, and the debtor
                 27      functions only as a bailee or conduit for the goods or proceeds in question), also weighs in
                 28      favor of the Debtors because while the action does involve third parties, the Debtors are more
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                     1   than merely bailees or conduits for the goods or proceeds in question, and, as plaintiffs, are
                     2   integral to the litigation.
                     3             The seventh factor (whether the litigation in another forum would prejudice the
                     4   interests of other creditors, the creditors’ committee or other interested parties), weighs in
                     5   favor of a short continuation of the stay. If the Debtors are successful in their claims against
                     6   Movants, the Debtors’ creditors and the estate will benefit (rather than be prejudiced)
                     7   because the Debtors will be able to liquidate its claims and bring additional assets into the
                     8   estate (if successful), which can be used to fund a plan of reorganization. Without competent
                     9   counsel, it is unlikely that the Debtors will be able to prevail.
                 10                The tenth factor (the interests of judicial economy and the expeditious and economical
                 11      determination of litigation for the parties) and the eleventh factor (whether the foreign
                 12      proceeds have progressed to the point where the parties are prepared for trial), weigh in favor
                 13      of the Debtors. A short continuance of the stay will enable the Debtors to employ competent
                 14      counsel to properly prosecute their case and provide the Debtors with a chance to prevail
                 15      against Movants. Although there is a motion pending to dispose of the Debtors’ claims, the
                 16      case has not yet been prepared for trial. Continuing the stay to enable Debtors to locate and
                 17      employ new counsel will provide the Debtors with proper representation that will foster the
                 18      interests of judicial economy and help provide an economical determination of the litigation.
                 19                Finally, the twelfth factor (that the court must examine the impact of the stay on the
                 20      parties and the ‘balance of hurt’) weighs heavily in favor of the Debtors. Movants are
                 21      represented by competent counsel – the Debtors are unrepresented and unqualified to
                 22      represent themselves. If the Debtors are not allowed time to employ new counsel, there is
                 23      a great risk that their claims will be lost. A short continuance of the stay will not harm
                 24      Movants because the litigation will still ultimately be resolved.
                 25                Balancing these applicable factors, continuing the stay is appropriate.
                 26                3.        Alternatively, The Court May Stay The State Court Action Pursuant to
                 27                          11 U.S.C. § 105(a)
                 28                Although Debtors are the plaintiffs in the State Court Action, an injunction may be
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                     1   granted under 11 U.S.C. § 105 to stay the action. Section 105(a) provides, in part:
                     2             The court may issue any order, process, or judgment that is necessary or
                                   appropriate to carry out the provisions of this title.
                     3
                     4   Section 105 endows the bankruptcy court with ample power to enjoin actions excepted from
                     5   the automatic stay which might interfere with the rehabilitative process in a chapter 11 case,
                     6   including stays to enjoin a variety of proceedings which have an adverse impact on the
                     7   debtor’s ability to formulate a plan. In re Family Health Servs., 105 B.R. 937 (Bankr. C.D.
                     8   Cal. 1989); see also, In re Johns-Manville Corp., 40 B.R. 219 (S.D. N.Y. 1984). See also
                     9   Bank of the West v. Fabtech Indus. (In re Fabtech Indus.), 2010 Bankr. LEXIS 5097 (Bankr.
                 10      Fed. App., July 19, 2010 (Under § 105(a) the bankruptcy court may enjoin an action against
                 11      a non-debtor, effectively extending the automatic stay to actions (beyond those subject to 11
                 12      U.S.C. § 362(a)) that threaten the integrity of a bankrupt’s estate.)
                 13                In the present case, the Debtors are not able to proceed with the State Court Action
                 14      until they are able to secure engage new special counsel to prosecute the action. Proceeding
                 15      in the State Court Action without counsel is prejudicial to the Debtors, and could cause
                 16      irreparable harm to the estate. If the Debtors need time to locate and employ new special
                 17      counsel, which requires Bankruptcy Court approval. A short delay in the State Court Action
                 18      will not be prejudicial to the Movants, especially in light of the potential impact on the
                 19      Debtors are their estate.
                 20                4.        Conclusion
                 21                Based on the foregoing, it is respectfully requested that this Court continue the stay
                 22      or issue an injunction for a sufficient time to enable Debtors to locate and employ special
                 23      counsel to represent them.
                 24                DATED this 14th day of April, 2014.
                 25                                                               LAW OFFICES OF ALAN R. SMITH
                 26                                                               /s/ Holly E. Estes
                 27                                                               By_________________________________
                                                                                    Holly E. Estes, Esq.
                 28                                                                 Attorney for Debtors
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